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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

               v.
                                                    Criminal No. 18-CR-32-2
 CONCORD MANAGEMENT
 AND CONSULTING LLC,

                                Defendant.

GOVERNMENT’S REPLY TO CONCORD’S RESPONSE TO THE ORDER TO SHOW
   CAUSE WHY CONCORD SHOULD NOT BE HELD IN CIVIL CONTEMPT

       Even now, Concord does not so much as assert that it complied (or even tried to comply)

with the two trial subpoenas. Nor does Concord provide any explanation for the surprising absence

of responsive records or even explain its search process. Concord’s 18-page pleading can be

distilled to three material points: Concord’s attorneys will not make any representations about

compliance; Concord will not otherwise make any representations about compliance; and Concord

will not comply with a court order to send a representative to answer for its production. The Court

should therefore enter a contempt order and impose an appropriate sanction to compel compliance.

       As Concord notes, the standard for imposing civil contempt is “clear and convincing

evidence that the alleged contemnor violated the court’s prior order.” Food Lion, Inc. v. United

Food & Comm. Workers Int’l Union, 103 F.3d 1007, 1016 (D.C. Cir. 1997) (emphasis omitted).

That standard is satisfied. Significant evidence demonstrates Concord’s failure to comply with the

trial subpoenas. As the government laid out in its motion, the government has already established

a likelihood that Concord possesses the four categories of records for which it produced no

documents whatsoever; the government has already gathered certain records through other means

that would be responsive; at least one category (category 3) comprises a set of records (records of
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IP addresses) that almost any business has and that Concord almost certainly has; and neither

Concord’s attorneys nor any other representative will so much as assert that Concord complied,

let alone explain the search process and absence of records. Even if no individual fact establishes

Concord’s violation, the facts taken together do so.

       Concord does not address the significant evidence of noncompliance even now, when

ordered to do so by the Court. Here, the most pertinent facts “are peculiarly within [Concord’s]

knowledge,” and the government faces a “practical handicap” in establishing the existence of

records outside of the government’s possession or control. See United States v. Fleischman, 339

U.S. 349, 360-363 (1950) (criminal contempt). The Court ordered Concord to show cause “why

it should not be held in civil contempt for failing to comply with the trial subpoenas issued in this

case.” 2/27/20 Minute Order. Concord’s response does not come close to rebutting the substantial

evidence of noncompliance. Not only does Concord fail even to assert that it complied with the

subpoenas, but Concord also refuses to engage with the reasons to believe that Concord possesses,

or at least controls, additional records. Concord spends pages attacking the government, seeks to

distinguish some of the government’s citations on their facts, and even briefly alludes to the Sixth

Amendment (while citing cases involving subpoenas directed at attorneys as opposed to records

held by the client). Conspicuously absent from Concord’s response is an attempt to rebut what is

at least a prima facie showing of noncompliance. Concord’s continued stonewalling is all the more

significant now that the Court has ordered Concord to show cause why it should not be held in

civil contempt. Concord’s failure to rebut the significant evidence of noncompliance underscores

that the government has met its burden and Concord should be held in contempt.




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                                       CONCLUSION

       For the foregoing reasons, the government respectfully asks that Concord be held in civil

contempt and asks the Court to impose a per diem fine to coerce compliance with the trial

subpoenas.

                                    Respectfully submitted,


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